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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re:                                               )       Chapter 7
                                                     )
Michael Billon,                                      )       No. 20 B 04921
                                                     )
                                      Debtor.        )       Judge A. Benjamin Goldgar



                                     SECTION 329 ORDER
         This matter came before the court on April 17, 2020, on the court’s motion to dismiss for

failure to file required documents under Section 521. Counsel for the debtor did not appear at the
hearing. Accordingly, IT IS HEREBY ORDERED:

         Pursuant to sections 105 and 329 of the Bankruptcy Code, 11 U.S.C. §§ 105, 329, and

Rule 2017(a) of the Federal Rules of Bankruptcy Procedure, Fed. R. Bankr. P. 2017(a), Gregory

J. Jordan, debtor’s attorney, is ordered to appear before the court at on May 1, 2020, at 11:15

a.m. at the Park City Branch Court, 301 Greenleaf Avenue, Courtroom B, Park City, Illinois, to

show cause why he should not be denied compensation for services and required to refund any

compensation previously received.

         Failure to appear may be deemed civil contempt of court.



Dated: April 17, 2020
